       Case 1:20-cv-21588-CMA Document 6 Entered
                                  AFFIDAVIT      on FLSD Docket 05/04/2020 Page 1 of 2
                                            OF SERVICE

                                                        UNITED STATES DISTRICT COURT
                                                            Southern District of Florida
Case Number: 1:20-CV-21588-CMA

Plaintiff:
Mark Pitzo
vs.
Defendant:
Carnival Corporation d/b/a Carnival Cruise Lines

For:
MARK KELLEY SCHWARTZ
DRIGGERS, SCHULTZ & HERBST
2600 W. BIG BEAVER ROAD
SUITE 550
TROY, Ml 48084

Received by AMS PROCESS SERVICE, INC. on the 22nd day of April, 2020 at 4:54 pm to be served on CARNIVAL CORPORATION
D/B/A CARNIVAL CRUISE LINES C/O NRAI SERVICES, INC., REGISTERED AGENT, 1200 SPINE ISLAND RD., PLANTATION, FL
33324.

I, CHRIS YEOMAN, being duly sworn, depose and say that on the 23rd day of April, 2020 at 1 :35 pm, I:

SERVED the within named corporation by delivering a true copy of the Summons in a Civil Action and Complaint and Demand for
Jury Trial at the address of 1200 SPINE ISLAND RD., PLANTATION, FL 33324 with the date and hour endorsed thereon by me to,
LISA HOWARD, INTAKE SPECIALIST as an employee of the Registered Agent listed with the Florida Division of Corporation,
pursuant to F.S. 48.081 (3)(a).


I certify that I am over the age of 18, have no interest in the above action, and am a Special Process Server, in good standing, in the
judicial circuit in which the process was served and have proper authority in the jurisdiction in which this service was made. Under
penalties of perjury, I declare that I have read the foregoing document and that the facts stated in it are true, to the best of my
knowledge and belief F.S. 92.525 Verification of documents.




                                                                                               AMS PROCESS SERVICE, INC.
                                                                                               6131 ISLAND HARBOR ROAD
                                                                                               SEBASTIAN, FL 32958
NOT                                                                                            (305) 934-2687

                   tffii!/i~\       Notary  Pu~ii~~ ~~;eHofFlorida                             Our Job Serial Number: CIZ-2020005989
                   \'=aW~i             Commission# GG 255266                                   Ref: 88
                   ···'1..~r,.~'f..···
                                    My Comm. Expires Sep 4, 2022
                               Bonded through National Notary Assn.
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AO 440 (Rev. 06/ 12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT                                  4/n/2-o 1:JsF
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                                                              for the
                                                   Southern District of Florida
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                         MARKPITZO                              )
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                                                                )                                                     'If 2.(...2-
                            Plaintiff(s)                        )
                                                                )
                                 v.                                     Civil Action No. 1:20-cv-21588-CMA
                                                                )
               CARNIVAL CORPORATION                             )
             d/b/a CARNIVAL CRUISE LINES                        )
                                                                )
                                                                )
                           Defendant(s)                         )

                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant 's name and address) Carnival Corporation
                                    d/b/a Carniva l Cruise Lines
                                    c/o NRAI Services, Inc., Registered Agent
                                    1200 South Pine Isla nd Road
                                    Plantation, FL 33324



          A lawsuit has been filed against you.

         Within 2 1 days after service of this summons on you (not counting the day you received it) - or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3)-you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Ma rk Kelley Schwartz
                                  DRIGGERS, SCHULTZ & HERBST
                                  2600 W. Big Beaver Road, Suite 550
                                  Troy, Ml 48084



       lf you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.


                                                                                               SUMMONS



Date:         Apr15,2020                                                                    s/ P. Curtis
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                                                                         Angela E. Noble     U.S. Di str ict Courts

                                                                         Clerk of Court
